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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
ANTHONY DAUNT,

        Plaintiff,
v                                               No. 1:20-cv-00522

JOCELYN BENSON, JONATHAN BRATER,                HON. ROBERT J. JONKER
SHERYL GUY, DAWN OLNEY, CHERYL
POTTER BROWE, KAREN BREWSTER,                       STIPULATED ORDER
SUANNE KANINE, BONNIE SCHEELE,                     EXTENDING TIME FOR
NANCY HEUBEL, DEBORAH HILL, JULIE                DEFENDANTS BENSON AND
A. CARLSON, MICHELLE CROCKER,                     BRATER TO RESPOND TO
ELIZABETH HUNDLEY, LORI JOHNSON,                  PLAINTIFFS’ COMPLAINT
LISA BROWN, SUSAN I. DEFEYTER,
MICHELLE STEVENSON, and LAWRENCE
KESTENBAUM,

        Defendants.

William S. Consovoy                             David G. Stoker (P24959)
Cameron T. Norris                               Timothy M. Perrone (P37940)
Tiffany H. Bates                                Courtney Ann Gabbara
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                                            /
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 STIPULATED ORDER EXTENDING TIME FOR DEFENDANTS BENSON
      AND BRATER TO RESPOND TO PLAINTIFFS’ COMPLAINT

      The parties hereby stipulate and agree to an extension until August 31, 2020

for Defendants Jocelyn Benson and Jonathan Brater to file a first responsive

pleading to Plaintiff’s complaint;

      IT IS HEREBY ORDERED that a response to the complaint will be

required from Defendants Jocelyn Benson and Jonathan Brater on or before August

31, 2020.


Date: ___________                __________________________________________
                                 HON. ROBERT J. JONKER
                                 District Court Judge

The parties, through their respective counsel, stipulate to the entry of the above
order.

s/Cameron T. Norris (w/consent)               Dated: July 10, 2020
Cameron T. Norris
Attorney for Plaintiff
1600 Wilson Blvd, Suite 700
Arlington, VA 22209

s/Heather S. Meingast                         Dated: July 10, 2020
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